JS 44 (Rev. 04/21)              Case 2:24-cv-06348-JLS  Document
                                                    CIVIL COVER1SHEET
                                                                  Filed 11/26/24                                                                     Page 1 of 44
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                          DEFENDANTS
       ASIAN-AMERICAN LICENSED BEVERAGE
                                                                                                           CITY OF PHILADELPHIA ET AL.
       ASSOCIATION ET AL.
   (b) County of Residence of First Listed Plaintiff Philadelphia                                          County of Residence of First Listed Defendant              Philadelphia
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                  (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                           NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                      THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                                 Attorneys (If Known)
       Edward T. Kang, Kyle Garabedian, Kelly A. Lavelle
       Kang Haggerty LLC, 123 S. Broad St., Suite 1950                                                     Unknown
       Philadelphia, PA 19109, (215) 525-5850
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                       III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                        (For Diversity Cases Only)                                    and One Box for Defendant)
  1    U.S. Government                 3   Federal Question                                                                      PTF        DEF                                         PTF      DEF
         Plaintiff                           (U.S. Government Not a Party)                        Citizen of This State            1          1      Incorporated or Principal Place      ✖ 4    ✖ 4
                                                                                                                                                       of Business In This State

✖ 2    U.S. Government                 4   Diversity                                              Citizen of Another State            2          2   Incorporated and Principal Place           5         5
         Defendant                           (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                  Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                    Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                     Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                               TORTS                              FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
  110 Insurance                      PERSONAL INJURY                  PERSONAL INJURY                625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                         310 Airplane                    365 Personal Injury -               of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                     315 Airplane Product                Product Liability           690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument               Liability                  367 Health Care/                                                       INTELLECTUAL                    400 State Reapportionment
  150 Recovery of Overpayment        320 Assault, Libel &                Pharmaceutical                                                   PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment           Slander                        Personal Injury                                                  820 Copyrights                    430 Banks and Banking
  151 Medicare Act                   330 Federal Employers’              Product Liability                                                830 Patent                        450 Commerce
  152 Recovery of Defaulted               Liability                  368 Asbestos Personal                                                835 Patent - Abbreviated          460 Deportation
       Student Loans                 340 Marine                          Injury Product                                                       New Drug Application          470 Racketeer Influenced and
       (Excludes Veterans)           345 Marine Product                  Liability                                                        840 Trademark                         Corrupt Organizations
  153 Recovery of Overpayment             Liability                 PERSONAL PROPERTY                         LABOR                       880 Defend Trade Secrets          480 Consumer Credit
      of Veteran’s Benefits          350 Motor Vehicle               370 Other Fraud                 710 Fair Labor Standards                 Act of 2016                       (15 USC 1681 or 1692)
  160 Stockholders’ Suits            355 Motor Vehicle               371 Truth in Lending                Act                                                                485 Telephone Consumer
  190 Other Contract                     Product Liability           380 Other Personal              720 Labor/Management                 SOCIAL SECURITY                       Protection Act
  195 Contract Product Liability     360 Other Personal                  Property Damage                 Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
  196 Franchise                          Injury                      385 Property Damage             740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                     362 Personal Injury -               Product Liability           751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                         Medical Malpractice                                             Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
      REAL PROPERTY                    CIVIL RIGHTS                 PRISONER PETITIONS               790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation            ✖ 440 Other Civil Rights          Habeas Corpus:                  791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                    441 Voting                      463 Alien Detainee                  Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment         442 Employment                  510 Motions to Vacate                                                870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land                  443 Housing/                        Sentence                                                              or Defendant)                896 Arbitration
  245 Tort Product Liability             Accommodations              530 General                                                          871 IRS—Third Party               899 Administrative Procedure
  290 All Other Real Property        445 Amer. w/Disabilities -      535 Death Penalty                   IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                         Employment                  Other:                          462 Naturalization Application                                             Agency Decision
                                     446 Amer. w/Disabilities -      540 Mandamus & Other            465 Other Immigration                                                  950 Constitutionality of
                                         Other                       550 Civil Rights                    Actions                                                                State Statutes
                                     448 Education                   555 Prison Condition
                                                                     560 Civil Detainee -
                                                                         Conditions of
                                                                         Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖ 1    Original          2 Removed from                     3     Remanded from                 4 Reinstated or             5 Transferred from    6 Multidistrict                       8 Multidistrict
       Proceeding          State Court                            Appellate Court                 Reopened                    Another District        Litigation -                        Litigation -
                                                                                                                              (specify)               Transfer                            Direct File
                                       Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                       Violation of 42 U.S.C §1983; Article 1, §§ 1, 20, 26, and 29 of the Pennsylvania Constitution
VI. CAUSE OF ACTION Brief description of cause:
                                       Discrimination of a Protected Class
VII. REQUESTED IN                           CHECK IF THIS IS A CLASS ACTION                          DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                             UNDER RULE 23, F.R.Cv.P.                                                                             JURY DEMAND:                 ✖ Yes            No
VIII. RELATED CASE(S)
                                           (See instructions):
      IF ANY                                                       JUDGE                                                                  DOCKET NUMBER
DATE                                                                 SIGNATURE OF ATTORNEY OF RECORD
 11/26/2024                                                              /s/ Kyle Garabedian
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                     APPLYING IFP                                     JUDGE                           MAG. JUDGE
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                                                           UNITED STATES DISTRICT COURT
                                                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                                                           DESIGNATION FORM

    Place of Accident, Incident, or Transaction:_______________________________________________________________________
                                                  City of Philadelphia




      RELATED CASE IF ANY: Case Number:______________________ Judge:________________________________

              1.   Does this case involve property included in an earlier numbered suit?                                                                Yes

              2.   Does this case involve a transaction or occurrence which was the subject of an earlier numbered suit?                                Yes

              3.   Does this case involve the validity or infringement of a patent which was the subject of an earlier numbered suit?                   Yes

              4.   Is this case a second or successive habeas corpus petition, social security appeal, or pro se case filed by the same                 Yes
                   individual?

              5.   Is this case related to an earlier numbered suit even though none of the above categories apply?                                     Yes
                   If yes, attach an explanation.
      I certify that, to the best of my knowledge and belief, the within case                     is / X is not related to any pending or previously terminated
      action in this court.


      Civil Litigation Categories

              A.   Federal Question Cases:                                                              B. Diversity Jurisdiction Cases:

                   1.  Indemnity Contract, Marine Contract, and All Other Contracts)          1. Insurance Contract and Other Contracts
                   2.  FELA                                                                   2. Airplane Personal Injury
                   3.  Jones Act-Personal Injury                                              3. Assault, Defamation
                   4.  Antitrust                                                              4. Marine Personal Injury
                   5.  Wage and Hour Class Action/Collective Action                           5. Motor Vehicle Personal Injury
                   6.  Patent                                                                 6. Other Personal Injury (Please specify):________________
                   7.  Copyright/Trademark                                                    7. Products Liability
                   8.  Employment                                                             8. All Other Diversity Cases: (Please specify)______________
                   9.  Labor-Management Relations                                                _____________________
                   10. Civil Rights
                   11. Habeas Corpus
                   12. Securities Cases
                   13. Social Security Review Cases
                   14. Qui Tam Cases
              X    15. Cases Seeking Systemic Relief *see certification below*
                   16. All Other Federal Question Cases. (Please specify):_____________________________

      I certify that, to the best of my knowledge and belief, that the remedy sought in this case X does /         does not have implications
      beyond the parties before the court and X does /         does not seek to bar or mandate statewide or nationwide enforcement of a state or
      federal law including a rule, regulation, policy, or order of the executive branch or a state or federal agency, whether by declaratory
      judgment and/or any form of injunctive relief.

                                                    ARBITRATION CERTIFICATION (CHECK ONLY ONE BOX BELOW)

      I certify that, to the best of my knowledge and belief:
          X     Pursuant to Local Civil Rule 53.2(3), this case is not eligible for arbitration either because (1) it seeks relief other than money damages; (2) the
      money damages sought are in excess of $150,000 exclusive of interest and costs; (3) it is a social security case, includes a prisoner as a party, or alleges a
      violation of a right secured by the U.S. Constitution, or (4) jurisdiction is based in whole or in part on 28 U.S.C. § 1343.


                   None of the restrictions in Local Civil Rule 53.2 apply and this case is eligible for arbitration.

      NOTE: A trial de novo will be by jury only if there has been compliance with F.R.C.P. 38.
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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                 :
ASIAN-AMERICAN LICENSED          :
BEVERAGE ASSOCIATION D/B/A ASIAN-: CIVIL ACTION
AMERICAN LICENSED BEVERAGE       :
ASSOCIATION OF PHILADELPHIA      :
                                 : Case No. ___________
YO DELI, INC.                    :
                                 :
BEST BEER, INC.                  : Jury Trial Demanded
                                 :
SKY BEER DELI, INC.              :
                                 :
MAYA INVESTMENT GROUP, LLC       :
                                 :
                                 :
7701 OGONTZ, INC.                :
                                 :
CDD 725, INC.                    :
                                 :
 and                             :
                                 :
ARAB AMERICAN BUSINESS           :
ASSOCIATION AND PROFESSIONAL     :
ASSOCIATION OF THE DELAWARE      :
VALLEY                           :
                                 :
              Plaintiff,         :
                                 :
       v.                        :
                                 :
CITY OF PHILADELPHIA             :
                                 :
COMMONWEALTH OF PENNSYLVANIA     :
                                 :
PENNSYLVANIA STATE POLICE BUREAU :
OF LIQUOR CONTROL ENFORCEMENT    :
                                 :
and                              :
                                 :
PENNSYLVANIA LIQUOR CONTROL      :
BOARD                            :
                                 :
            Defendants.          :
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                                   VERIFIED COMPLAINT

       1.      This matter stems from the unlawful deprivation of Plaintiffs’ constitutionally

protected rights under the First, Fifth, and Fourteenth Amendments to the United States

Constitution and the Pennsylvania Constitution by intentionally and purposefully enforcing laws

in a discriminatory manner against Plaintiffs and others.

       2.      With state and local authorities acting in concert, Defendants seek to shut down

businesses that are overwhelmingly owned by Asian Americans and Arab Americans through the

passage of vague ordinances that carry draconian punishments.

       3.      At the same time, state actors seek to strip these same businesses of their liquor

licenses by any means necessary, which will effectively shutter the targeted businesses.

       4.      The ordinances and regulations are then enforced discriminatorily, often arbitrarily

finding violations based on absurd applications of the law or suddenly finding violations for

conditions that had been approved in the past.

       5.      Those violations are then used as a basis to threaten the businesses with closure or

the loss of the licenses that they depend on to survive.

       6.      Defendants, including the City of Philadelphia, have a deeply rooted history of

discriminating against Asian Americans and Arab Americans, which is unfortunate given the

City’s claimed protection for immigrants and other racially or ethnically oppressed people. Indeed,

behind its façade, the City has long been discriminating against Asian Americans and Arab

Americans, who are law-abiding citizens trying to make an honest living.

       7.      Defendants have engaged in selective and invidious discrimination against certain

groups and their businesses in Philadelphia, including Plaintiffs, through the adoption,

administration, and enforcement of certain state and local laws, described more fully herein,




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resulting in Plaintiffs being unconstitutionally deprived of due process and equal protection of the

laws in violation of 42 U.S.C. §1983 and of Article 1, §§ 1, 20, 26 and 29 of the Pennsylvania

Constitution. The state and local laws were enacted to target and discriminate against certain

groups and their businesses in Philadelphia. The state and local laws are so vague and overbroad

that persons of ordinary intelligence must necessarily guess as to their meaning and differ as to

their application.

          9.    The vague and unequal application of these laws means that even being the victim

  of a crime can subject these businesses to punishment, up to and including the immediate closure

  of the business.

        10.     Further, the state and local laws have been selectively enforced against certain

groups and their businesses.

        11.     As a result of the unconstitutionally vague and overbroad state and local laws and

selective enforcement of such, certain groups and their businesses have been required to pay fines

and are at risk of losing their liquor licenses and have otherwise been damaged and will continue

to suffer injury.

                                            PARTIES

        12.     Plaintiff Asian-American Licensed Beverage Association D/B/A Asian-American

Licensed Beverage Association Of Philadelphia (“AALBA”) is a domestic non-profit corporation

existing under Pennsylvania law, with its principal place of business located at 711 Sansom Street,

Philadelphia, Pennsylvania.

        13.     AALBA represents approximately 110 Asian-owned businesses with liquor

licenses in Philadelphia. Many AALBA members have been targeted by the unlawful conduct

described here.




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       14.     Plaintiff Yo Deli, Inc. is a business entity organized and existing under

Pennsylvania law, with its principal place of business located at 900 W. Huntingdon Street,

Philadelphia, PA. Yo Deli Inc. is a member of AALBA.

         15.   Plaintiff Best Beer, Inc. is a business entity organized and existing under

 Pennsylvania law, with its principal place of business located at 6603 Chew Avenue,

 Philadelphia, PA. Best Beer, Inc. is a member of AALBA.

         16.   Plaintiff Sky Beer Deli, Inc. is a business entity organized and existing under

 Pennsylvania law, with its principal place of business located at 3403 Germantown Avenue,

 Philadelphia, PA. Sky Beer Deli, Inc. is a member of AALBA.

         17.   Plaintiff Maya Investment Group, LLC is a business entity organized and existing

 under Pennsylvania law, with its principal place of business located at 2901 North 27th Street,

 Philadelphia, PA. Maya Investment Group, LLC is a member of AALBA.

         18.   Plaintiff 7701 Ogontz, Inc. is a business entity organized and existing under

 Pennsylvania law, with its principal place of business located at 7701 Ogontz Avenue,

 Philadelphia, PA. 7701 Ogontz, Inc. is a member of AALBA.

         19.   Plaintiff CDD 725, Inc. is a business entity organized and existing under

 Pennsylvania law, with its principal place of business located at 725 North 10th Street,

 Philadelphia, PA. CDD 725, Inc. is also a member of AALBA.

       20.     Plaintiff Arab American Business And Professional Association Of The Delaware

Valley (“AAB”) is a business entity organized and existing under Pennsylvania law, with its

principal place of business located at 522 E. Church Road, Elkins Park, Pennsylvania. Many AAB

members have been targeted by the unlawful conduct described here.




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       21.      In particular, many AAB members have been impacted by targeted curfew laws

which limit the hours of operation for AAB-related businesses.

       22.      Defendant City of Philadelphia is a municipal corporation, defined as a City of the

First Class, formed under the laws of the Commonwealth of Pennsylvania, with a business address

of One Parkway Building, 17th Floor, 1515 Arch Street, Philadelphia, Pennsylvania 19102-1595.

          23.   Defendant Pennsylvania Liquor Control Board (“PLCB”) is an independent

 commonwealth agency created under Section 201 of the Pennsylvania Liquor Code, the Act of

 April 12, 1951, P.L. 90, as amended, 47 P.S. § 1-101 to 8-803 (“Liquor Code”) with a business

 address of 401 Northwest Office Building, Harrisburg, Pennsylvania 17124-001.

          24.   Defendant Pennsylvania State Police Bureau of Liquor Board Enforcement

 (“BLCE”) is a subdivision of the Pennsylvania State Police authorized to enforce the Liquor

 Code and its attendant regulations; specifically, the BLCE is authorized to investigate and issue

 citations for any violations of the Liquor Code or any laws of the Commonwealth of

 Pennsylvania relating to liquor, alcohol or malt or brewed beverages, or any regulations of the

 board adopted pursuant to such laws or any violation of any laws of the Commonwealth. 47 P.S.

 § 2-211(4).

          25.   Defendants John Does 1 – 10 are potential defendants who participated in

 Defendants’ unlawful scheme to deprive Plaintiffs of their constitutional rights under the United

 States and Pennsylvania Constitutions. These defendants include other members of the City of

 Philadelphia, the Commonwealth of Pennsylvania, and/or the Pennsylvania Liquor Control

 Board.

                                 JURISDICTION AND VENUE




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       26.   This Court has original jurisdiction over Plaintiff’s claims pursuant to 28 U.S.C. §

1331 and 28 U.S.C. § 1343.

       27.   Venue is proper pursuant to U.S.C. §1391 because Defendants reside in this District

and the events giving rise to these claims occurred within the District.

                                 STATEMENT OF FACTS

       28.   AALBA is an association of businesspeople, all of whom have been granted a

license from Defendant, PLCB, licensing them to sell and dispense alcoholic beverages,

including malt and brewed beverages, under the provisions of the Pennsylvania Liquor Code.

       29.   The members of the AALBA hold their licenses either in their individual names or

in the form of a business corporation they own and control.

       30.   Further, the members of the AALBA are largely of Asian-American heritage and

are licensed to sell and dispense alcoholic beverages, including brewed beverages, in the City of

Philadelphia.

       31.   AALBA members hold their licenses through their individual names or the names

of a business entity.

       32.   There are approximately 110 members of the AALBA representing a similar

number of liquor licenses.

       33.   Plaintiff AAB is an association of business people, many of whom have been

granted a license from the PLCB, licensing them to sell and dispense alcoholic beverages,

including malt and brewed beverages, under the provisions of the Pennsylvania Liquor Code.

       34.   Additionally, members of AAB operate various convenience stores and similar

businesses throughout Philadelphia. Their operations depend on maintaining flexible business

hours, serving the community at times when traditional grocery stores have closed.




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       35.     The members of the AAB hold their licenses either in their individual names or in

the form of a business entity they own and control.

       36.     Many members of the Plaintiff organizations run establishments that have

completed the Liquor Control Board application and secured licenses to operate as either a retail

dispenser (R- Licenses (also known as a “Restaurant License”)) or an eating place retail

dispenser (E license).

       37.     Plaintiffs operate from licensed premises approved by the PLCB and by the City of

Philadelphia acting through the City of Philadelphia’s Department of Licenses and Inspections.

(Phila. Code § 6-503)(47 P.S. §§ 4-407, 4-442).

       38.     At all times, Plaintiffs’ members were operating in a legal manner.

       39.     Upon information and belief, all actions taken by the Defendants against the

Plaintiffs were due to a purposeful campaign between and among the Defendants herein with a

specific goal of preventing Plaintiffs from operating.

       40.     Defendants have tirelessly made efforts to inhibit Plaintiffs’ business operations,

selectively enforcing laws and ordinances for the express purpose of driving Plaintiffs out of

business.

       41.     The overwhelming majority of the impacted businesses are owned by racial

minorities, specifically Asian and Arab Americans.

       42.     Actions taken by and on behalf of the Defendants, individually and collectively,

against Plaintiffs’ lawful business operations, include but are not limited to:

            a. Selective enforcement of laws and ordinances targeted at Plaintiffs;




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         b. Facially unfair and biased administration of those laws and ordinances intended to

             prevent Plaintiffs from complying in good faith as a pretext to impose penalties (up

             through and including the loss of a license or the closure of the business);

         c. Repeated Police Department and BLCE visits to the Plaintiffs’ establishments for

             unannounced inspections;

         d. Discriminatory and harassing conduct by the Police Department and BLCE.

       43.   Upon information and belief, the Police Department and the BLCE had no

registered complaints involving the Plaintiffs’ establishments.

       44.   Despite the absence of registered complaints, the Police Department and the BLCE

continually targeted Plaintiffs’ establishments.

       45.   Due to the concerted and purposeful efforts of the Defendants, Plaintiffs have

struggled to stay open for business and are at risk of losing the liquor licenses.

       46.   Plaintiffs have been unable to operate in a manner originally conceived

and approved by the City of Philadelphia and the Liquor Control Board.

       47.   Accordingly, Plaintiffs have sustained and will continue to sustain a substantial loss

of business due to the adverse effect of the unlawful conduct of Defendants.

       48.   Defendants’ arbitrary and capricious conduct unjustly deprives Plaintiffs of their

fundamental and constitutionally protected rights under the Constitution of the United States and

the Constitution of the Commonwealth of Pennsylvania, violating due process and equal

protection guarantees.

                 History of Regulations of “Stop-and-Go” Establishments




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       49.   The City of Philadelphia has a longstanding history of scrutinizing and regulating

minority-owned (namely, Asian or Arab Americans) businesses, including so-called “stop-and-

go” establishments.

       50.   In 1987, enforcement of alcohol sales at these establishments shifted from the

Pennsylvania Liquor Control Board to the Pennsylvania State Police, creating the Pennsylvania

State Police Bureau of Liquor Control Enforcement. Sections 211 and 472 of the Act of April

12, 1951 (P.L. 90, No. 21), known as the Liquor Code, re-enacted and amended June 29, 1987

(P.L. 32, No. 14).

       51.   In 1990, the PLCB introduced the Nuisance Bar Program, which allows the PLCB

to deny license renewals in an effort to remove “problem bars” from communities. Pennsylvania

Liquor Control Board, Nuisance Bar Program, https://www.lcb.pa.gov/Licensing/Topics-of-

Interest/Pages/Nuisance-Bar-Program.aspx.

       52.   Then, in 2005, Governor Ed Rendell signed into law Act 39 of 2005, amending the

Liquor Code to require all licensed establishments in the City of Philadelphia that sell malt or

brewed alcoholic beverages for consumption off-premises to first obtain approval from the

Philadelphia City Council.

       53.   Only with the approval of City Council by way of a special permit may licensees

apply to the PLCB for permission to continue such sales.

       54.   The pertinent provisions of Act 39 of 2005 are outlined in Sections 407 and 442 of

the Liquor Code, 47 P.S. §§ 4-407 and 4-442, which include requirements for licensing.

       55.   That same year, Philadelphia’s former Mayor John A. Street enacted an ordinance

mandating an 11 p.m. curfew for businesses on residential streets. Phila. Code § 9-627.




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        56.   Section 9-627, enacted to address “nuisance retail shops, such as take-out and

convenience stores, was amended by the Philadelphia City Council in 2007 to specifically target

“take-out restaurants” situated on corner lots at street intersections. Id.

        57.   In 2018, a lawsuit was filed by twenty-three local Chinese take-out restaurant

owners against the City of Philadelphia, challenging the 11 p.m. curfew ordinance under

Philadelphia Code section 9-627 as unconstitutional for its alleged discriminatory intent and

enforcement against Asian Americans. See Liu v. City of Philadelphia, 2:18-cv-04900-MMB

(E.D. Pa. November 13, 2018).

        58.   The former curfew ordinance was overwhelmingly and selectively enforced against

Chinese-owned businesses.

        59.   Upon information and belief, 80%-90% of the citations issued under the former

curfew ordinance in 2015-2016 were issued against Asian or minority-owned businesses, while

similar businesses were allowed to operate without issue.

        60.   The case settled, with the City agreeing to suspend curfew enforcement and provide

police training on implicit bias and effective communication with limited English-proficient

community members.

        61.   Unfortunately, the passage of time has done little to quell the anti-Asian and other

minority sentiments that motivated the passage and selective enforcement of the earlier

ordinance.

        62.   In the wake of the pandemic and ever-increasing geopolitical tensions in Asia and

the Middle East, time has only increased anti-Asian and anti-Arab sentiment.




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           63.   Further evidence of this is reflected in the proposed plans to develop a new 76ers

    arena in Chinatown, which poses a serious threat to the survival of this historic Asian-American

    neighborhood.

           64.   As set forth in greater detail below, the City of Philadelphia has renewed its

    discriminatory conduct by passing a new suite of curfew laws and an overbroad nuisance

    ordinance that discriminates against minority-owned businesses.

           65.   In 2023, the Pennsylvania Stop-and-Go Legislative Task Force (“Task Force”) was

    established to review and recommend solutions regarding these establishments. 47 P.S. § 218.

           66.   On information and belief, no members of the Task Force no members of the Asian

    or Arab communities were members of the Task Force or had a substantial voice in the process

    that followed.

           67.   In response to ongoing concerns over “stop-and-go” establishments, the

    Pennsylvania General Assembly passed Act 44 of 2017 (Act 44), expanding PLCB oversight

    through the Licensee Compliance Program (“Compliance Program”) and the creation of the

    PLCB Bureau of Licensing.

           68.   The Compliance Program introduced the Investigation & Suspension Process,

    which mandates seating and food service compliance in such establishments and permits the

    PLCB and law enforcement to perform unannounced inspections, with the authority to suspend

    or revoke licenses for noncompliance. 1

           69.   The Task Force defines “stop-and-go establishment” as establishments that are: (i)

    legal holders of restaurant or R-licenses; and (ii) a convenience store or deli that sells beer and



1
 See Pennsylvania Liquor Control Board, Licensee Compliance Program,
https://www.lcb.pa.gov/Licensing/Documents/Complete%20Licensee%20Compliance%20Program%20Guide%20f
or%20Licensees.pdf.


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liquor, sometimes in quantities as low as a single shot, that may be consumed on premises or

immediately outside the establishment. 47 P.S. § 218(h)(1).

       70.   In October 2024, the Task Force issued its Report and Recommendations, advising

the General Assembly of guidelines for legislative remedies to regulate “stop-and-gos,”

including streamlining the citation processes, strengthening the Compliance Program, increasing

penalties and fines, and recruiting more BLCE agents. A true and correct copy of the

Commonwealth of Pennsylvania Stop-And-Go Legislative Task Force Report and

Recommendations (October 2, 2024) is attached as Exhibit A.

       71.   Notably, the Report and Recommendations provide an alternative definition for

stop-and-go establishments as “a Commonwealth licensee which holds either a restaurant liquor

(R) license or an eating place retail dispenser (E) license and receives at least two violations for

failing to act as a bona fide restaurant or eating place within a 12-month period.” See Exhibit A,

Report and Recommendations, pg. 9 (citing 770 Ameribeer, Inc. v. Pennsylvania Liquor Control

Bd., 318 A.3d 998 (Pa.Cmwlth. 2024)).

       72.   As of 2024, the Pennsylvania General Assembly continues to review these

regulations, with some legislators advocating for fairer enforcement practices to avoid

discrimination.

       73.   Many of the targeted establishments are owned and operated by immigrants and

minority entrepreneurs. The heightened regulations place an undue burden on small business

operators, leading to the closure of businesses that cannot meet the stricter standards. This, in

turn, has led to claims of economic discrimination and disparate impact.




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       74.   Moreover, the Task Force has acknowledged that the supposed problems with

“stop-and-go” businesses that it seeks to address are limited to Philadelphia, where such

establishments are overwhelmingly minority-owned.

       75.   On information and belief, license holders in other parts of Pennsylvania are not

subject to the same repeated scrutiny as minority-owned businesses located in Philadelphia.

                          Statutory and Regulatory Requirements
                                      The Liquor Code

       76.   Most businesses selling alcohol are licensed under the Liquor Code as either retail

dispensers (R licenses or Restaurant License) or eating place retail dispensers (E license). See

47 P.S. §§ 4-406, 4-407, 4-442, respectively.

       77.   Retail dispenser liquor licenses (R license) allow licensees to sell distilled spirits,

wine and malt or brewed beverages for consumption on the premises, and malt or brewed

beverages may be sold to-go. 47 P.S. §§ 4-406, 4-407.

       78.   R licensees are also eligible to obtain expanded permits to sell limited quantities of

wine to-go as well as ready-to-drink cocktail permits to sell ready-to-drink cocktails on a to-go

basis. 47 P.S. § 4-415.

       79.   Eating place retail dispenser liquor licenses (E license) allow licensees to sell only

malt or brewed beverages for consumption on the premises or on a to-go basis; holders of these

licenses may not sell other types of alcoholic beverages. 47 P.S. § 4-442.

       80.   Both R license and E licensees are required to offer food to the public and must

have seating to accommodate thirty persons. R licensees must measure at least 400 square feet,

while E licensees require a minimum of 300 square feet. 47 P.S. § 1-102.

       81.   Additionally, all licensees must provide: (i) no less than thirty seats immediately

available and accessible to the public (seats may not be stacked); (ii) sufficient food for at least



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thirty patrons; (iii) dishes and utensils for at least thirty persons; (iv) a current and valid health

license; (v) a functioning kitchen or food preparation area. See PLCB Compliance Program.

                                     The Philadelphia Code

        82.   Plaintiffs’ businesses are also subject to local laws and ordinances under The

Philadelphia Code.

       83.    Recently enacted sections 9-630, 9-641, 9-642, and 9-643 (collectively, the

“Curfew Ordinances”) of the Philadelphia Code restrict the hours of operation for business in

certain designated areas of Philadelphia. Phila. Code §§ 9-630, 9-641, 9-642 and 9-643.

        84.   Sections 9-630, 9-641, and 9-642 define “Commercial Establishment” as “[a]n

establishment involved in the buying and selling of goods where consumers primarily purchase

goods intended for consumption or use off premises, including a Food Establishment as defined

in Code Section 6-102.” This definition excludes “Food Establishments” with a Restaurant

Liquor License, as well as those serving exclusively as drive-throughs or operating as gas

stations. Section 9-643 defines “Commercial Establishment” without these specific exclusions.

Phila. Code §§ 9-630, 9-641, 9-642 and 9-643

        85.   Under section 6-102 “Food Establishment” is defined broadly as “[a]ny

establishment or portion thereof where food is handled or sold” including various types of stands,

vehicles, or vending machines but excluding facilities such as railroad dining cars in transit and

financial investment and brokerage transactions where no food handling takes place with the

City. Phila. Code § 6-102.

       86.    On or about August 12, 2024, City Council enacted Ordinance (Bill No. 240498),

amending Chapter 9-600 of The Philadelphia Code, adding various locations to the section

regulating the hours of operations of certain establishments and including the modification of




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 the definition of “Commercial Establishment” to exclude Food Establishments that serve

 customers exclusively from a drive-through window or fueling station. Phila. Code § 9-630

 (Seventh District Commercial Business Hour Restriction).

         87.   Specifically, section 9-630 prohibits any “Commercial Establishment” from

 operating between the hours of 11 p.m. and 6 a.m. within the following areas:

         (a) The area bounded by East Lehigh Ave., Kensington Ave., D St., East Tioga St. and
             Frankford Ave.

         (b) The area bounded by North 5th St., Erie Ave., North 9th St. and Roosevelt Blvd.

         (c) The area bounded by East Hunting Park Ave., North 5th St., Roosevelt Blvd. and
             Castor Ave.

         (d) The area bounded by East Lehigh Ave., North 2nd St., East Hunting Park Ave.,
             Whitaker Ave., and B St.

Phila. Code § 9-630 (2).

         88.   Also, on August 12, 2024, City Council enacted Ordinance (Bill No. 240474),

further amending Chapter 9-600 by adding Section 9-641, which imposes restrictions on operating

between the hours of 11 p.m. and 6 a.m. on “Commercial Establishments” within the area bounded

by East Allegheny Avenue, Kensington Avenue, Torresdale Avenue, and Frankford Avenue.

Phila. Code § 9-641 (Sixth District Commercial Business Hour Restriction).

         89.   On the same date, City Council enacted Ordinances (Bill Nos. 240414 and 240468),

 adding Section 9-642 restricting “Commercial Establishments” in the areas of (a) Ogontz

 Avenue, between Haines Street and Cheltenham Avenue, on both sides and (b) the area bounded

 by Ogontz Avenue, between Haines Street and 66th Avenue on both sides from operating during

 the hours of 12 midnight and 6 a.m. Phila. Code § 9-642 (Ninth District Commercial Business

 Hour Restriction).




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          90.   Also enacted on August 12, 2024, Ordinance (Bill No. 240476) added Section 9-

 643, which restricts any “Commercial Establishment” from operating between 11 p.m. and 6

 a.m. along the following streets:

          (a) North Broad [S]treet between West Chew Avenue and West Tabor Road.

          (b) Old York Road between West Olney Avenue and West Tabor Road

          (c) West Olney Avenue between North Broad Street and North Park Avenue.

          (d) Wagner Avenue between North Broad Street and Old York Road.

Phila. Code § 9-643 (Commercial Business Hour Restrictions Near the Boundary of the Eighth

and Ninth Districts).

          91.   The Curfew Ordinances primarily affect specific areas within Philadelphia where

 Plaintiffs operate their establishments.

          92.   These restrictions thus disproportionately impact these minority groups and their

 businesses operating in these specific areas within the City.

          93.   More affluent, whiter, neighborhoods within Philadelphia are not subject to the

 same restrictions and oversite as Plaintiffs’ businesses.

                           Enforcement of Ordinances and Statutes

                              PLCB Bureau of Licensing and BLCE

          94.   The PLCB Bureau of Licensing and the BLCE play significant roles in enforcing

 the Liquor Code.

          95.   The BLCE prioritizes the enforcement of violations commonly associated with

 these establishments, allocating considerable resources to monitor compliance within the City of

 Philadelphia and throughout the Commonwealth. See Exhibit A, Report and Recommendations,

 pg. 5.




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       96.   When public complaints are filed, they are investigated, and the BLCE must notify

the licensee of any alleged violation within 30 days of the investigation. 47 P.S. § 4-471(b).

       97.   If violations of the Liquor Code are found, the BLCE may issue a citation, which

is then adjudicated by an Administrative Law Judge (ALJ). 47 P.S. § 4-471(a).

                            PLCB Licensing Compliance Program

       98.   As mandated by Act 44 of 2017, the PLCB’s Bureau of Licensing and the License

Compliance Program oversee establishments’ adherence to requirements regarding seating,

food, square footage, and other criteria.

       99.   Upon receiving a complaint, a licensing analyst and law enforcement officer

conduct an unannounced on-site inspection for compliance. Id.

       100. If violations are found, they document the deficiencies with photographs, issue a

suspension notice effective immediately, and notify the BLCE of the suspension. Id.

       101. A follow-up inspection occurs within five to ten business days to verify compliance,

and operating privileges remain suspended if deficiencies remain. Repeated violations within a

12-month period escalate penalties, including a minimum license suspension of twenty days for

a second offense and thirty days for a third. Id.

       102. The PLCB’s Bureau of Licensing has the authority to object to or deny license

renewal based on a licensee’s operational history, such as prior citations (by reaching out to

police for public records and police incident reports), the reputations of owners and officers,

compliance with statutory requirements, and incidents occurring o or near the premises that may

affect public safety or welfare. 47 P.S. § 4-470.




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       103. Once an establishment is identified through the citation process or through the

PLCB Compliance Program, the PLCB can further evaluate these businesses during license

renewal and deny the renewal, which occurs every two years. Id.

       104. If a license is revoked, the affected business is ineligible to have a license until the

expiration of three years from the date the license is revoked. 47 P.S. § 4-471(b).

       105. Philadelphia County currently has more retail liquor licenses than the

Pennsylvania Liquor Code allows; therefore, if a plaintiff’s liquor license is revoked or not

renewed, the license ceases to exist.

       106. The only ways to obtain a liquor license are by transferring a license from an

existing owner or by purchasing one from a current licensee or at auction.

       107. R-licenses can sell for up to $300,000, while E-licenses go for around $150,000.

       108. Given the high demand, the prices are likely to be even higher by the time they are

eligible to obtain a new license (three years from the date it is revoked).

                              The Philadelphia Police Department

       109. Philadelphia has also passed new ordinances targeting Plaintiffs’ businesses.

       110. Chapter 9-4400 of the Philadelphia Code, titled “Responsible Business

Operations,” establishes regulations to identify and address “nuisance businesses.” Phila. Code

§§ 9-4401-9-4406 (the “Nuisance Ordinances”).

       111. While the supposed purpose is to deter criminal activity, it takes no action against

the actual lawbreakers; instead, it punishes law-abiding business owners by punishing them for

even alleged criminal activities around their businesses.




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       112. In a shocking overreach of police power, the Nuisance Ordinance purports to give

officers the ability to shutter businesses if violent activity happens nearby, or if they can string

together seemingly trivial offenses.

       113. Section 1-112 of the Philadelphia Code provides the Police Department with the

authority to issue code violation notices (“CVNs”) to enforce any provision of the Philadelphia

Code or any regulation adopted under the Code. Phila. Code § 1-112(a).

       114. The Police Department also has authority under section 9-4403 of the Philadelphia

Code to deem businesses as “chronic nuisance business” or “critical nuisance business” and to

issue a Notice of Intent to Cease Operations against them. Phila. Code § 9-4403.

       115. According to the Philadelphia Code a “chronic nuisance business” is one that has

received notices for “nuisance behavior” on three (3) or more separate days within a twelve (12)

month period.” Phila. Code § 9-4401(1).

       116. “Nuisance behavior” includes activities that disrupt the community’s health, safety,

or welfare and consists of eighteen possible offenses.

       117. These range from obviously illegal conduct, such as drug dealing and prostitution,

to trivial offenses completely outside the owners’ control, such as littering, or a patron parking

on the sidewalk.

       118. It also includes vague “catchall provisions” that incorporate unspecified other

potential offenses, including, but not limited to:

                                                 *****

       (o) Conduct that violates the provisions of the Pennsylvania Liquor Code. . .pertaining to

       unlawful acts relative to liquor and licenses (47 P.S. § 4-493);

                                                 *****




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         (q) Repeated or continuing violations of any other City ordinance and/or regulations;

         (r) Any other activity that constitutes a public nuisance under The Philadelphia Code.

Phila. Code § 9-4401(3).

         119. Moreover, the Philadelphia Code defines a “critical nuisance business” as one that

 has been issued a notice concerning serious violent behavior such as homicide, aggravated

 assault, or obstruction of an investigation related to such offenses. Phila. Code § 9-4401(5) and

 (6).

         120. The Police Department may issue a violation notice to a business owner when

 nuisance behavior or serious violent behavior has taken place inside the business or on the

 sidewalk or street, abutting the business during business hours. Phila. Code § 9-

 4402(1)(emphasis added).

         121. The Nuisance Ordinances offers no guidance on how nearby the alleged nuisance

 behavior must be to trigger its requirements.

         122. Indeed, read literally, the business itself could be the victim of a crime and then be

 subject to further punishment City.

         123. Such a system is wildly unfair on its face, enacting punitive measures against law-

 abiding citizens instead of actual criminals.

         124. This inconsistency indicates that the true purpose of the Nuisance Ordinance is to

 target and shut down minority-owned businesses rather than deter supposed criminal conduct.

 The Ordinances of The Philadelphia Code are Unconstitutionally Vague and Overbroad

         125. For the reasons set forth herein, among others, the Curfew and Nuisance

 Ordinances are unconstitutionally vague and overbroad.




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       126. As set forth above, the Curfew Ordinances regulate the operations of “Commercial

Establishments.”

       127. The Curfew Ordinances of the Philadelphia Code define “Commercial

Establishment” as “[a]n establishment involved in the buying and selling of goods where

consumers primarily purchase goods intended for consumption or use off premises, including a

Food Establishment as defined in Code Section 6-102 . . . .” Phila Code §§ 9-630(1), 9-641(1),

9-642(1), 9-643(1).

       128. However, the Curfew Ordinances do not define critical terms such as “primarily”

or “goods,” which are essential for the application and enforcement of the regulations.

       129. This lack of clarity leaves the ordinances susceptible to arbitrary and discriminatory

enforcement.

       130. The Curfew Ordinances do not provide any mechanism or clear standard for the

Philadelphia Police to determine whether a business qualifies as a “Commercial

Establishment” under the ordinances.

       131. The Curfew Ordinances’ definition of “Commercial Establishment” is so vague

that persons of ordinary intelligence must guess its meaning and application, leading to

inconsistent enforcement.

       132. This vagueness allows for selective enforcement.

       133. Upon information and belief, as with efforts to enforce the prior curfew ordinance,

enforcement of the new Curfew Ordinance is once again selective and targeted toward minority-

owned businesses.

       134. Section 9-4402(1) of the Nuisance Ordinances, which allows establishments to be

issued notices of violation based on nuisance behavior or serious violent behavior that has taken




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place inside the business or on the sidewalk or street, abutting the business is unconstitutionally

overbroad and vague. Phila. Code § 9-4402(1)(emphasis added)

        135. The broad scope of this provision invites arbitrary and discriminatory enforcement

as it encompasses a wide range of behaviors, including activities not related to the operation of

the business itself.

        136. The Nuisance Ordinance also includes the extreme punitive measure of shutting

down a business, even if the business played no part in the offending behavior.

        137. Defendants intentionally discriminated against members of a minority group and

their businesses based on race and/or national origin by deliberately crafting the Curfew and

Nuisance Ordinances to produce discriminatory effects.

        138. The Curfew and Nuisance Ordinances were designed and have been enforced to

disproportionately target specific groups and their businesses, resulting in discriminatory effects

that violate both the United States Constitution and the Pennsylvania Constitution.

        139. The vagueness and overbreadth of the Curfew and Nuisance Ordinances are

further demonstrated by the record of enforcement actions taken by the Philadelphia Police

Department, as detailed below.

        140. The inconsistent and arbitrary nature of these actions illustrates how the ordinances

are being applied in a manner that fails to provide adequate notice and results in unequal

treatment.

The Philadelphia Code and Liquor Code Have Been Selectively Enforced to Discriminate
Against Certain Groups and Their Businesses in Violation of the Equal Protection Clause
                  of the United States and Pennsylvania Constitutions

        141. The Philadelphia Code and Liquor Code have been selectively enforced against

certain minority groups, including Plaintiffs and their businesses, resulting in discriminatory

treatment.


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        142. As detailed herein, the Curfew and Nuisance Ordinances are impermissibly vague

and overbroad in both their language and their application, enabling selective enforcement

against Plaintiffs in violation of constitutional protections.

        143. Specifically, in addition to being unconstitutionally vague and overbroad, the

Curfew Ordinances target specific geographic areas within the City of Philadelphia, leading to

disparate treatment for Plaintiffs who are licensed to sell certain alcoholic beverages for

consumption off-premises compared to other licensees across the City of Philadelphia and the

Commonwealth of Pennsylvania who are not subject to the same restrictions.

        144. The restrictions based on geography are arbitrary and bear no rational relationship

to any legitimate state interest.

        145. Additionally, the establishment of the Task Force and the implementation of its

Report and Recommendations will likely lead to further targeted enforcement efforts that violate

Plaintiffs’ equal protection rights of the United States and Pennsylvania Constitutions.

        146. There is a clear path set for the laws to be applied in a discriminatory manner,

disproportionately impacting Plaintiffs and other minority-owned businesses.

        147. The harm from this is compounded because the PLCB then uses these alleged

violations as a pretext to avoid renewal of the liquor licenses for the impacted businesses.

        148. In previous years, the PLCB would simply issue a renewal—or in exceedingly rare

cases, a denial—of the license in question during each renewal period.

        149. In a complete change from the past practice, the PCLB has now issued dozens of

“temporary renewal” letters refusing to renew many liquor licenses pending the results of a

hearing.




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        150. The enforcement practices of the Defendants reveal a consistent and discriminatory

pattern of targeting Plaintiffs as detailed below.

                                           Yo Deli Inc.

        151. In some instances, the PLCB now purports to take action against Plaintiff and their

members based on alleged violations in the distant past. For instance, AALBA member Yo Deli

Inc. recently received a temporary license renewal from PLCB, claiming it may have abused its

license based on two provided citation numbers: 15-174 and 13-1726. A true and correct copy

of the citations and the PLCB letter regarding temporary renewal are attached as Exhibit B.

        152. However, as the first two digits in the citation numbers indicate the year the

citations were issued, it is evident that the most recent of those citations occurred nearly ten years

ago, with the other occurring over eleven years ago.

        153. Yo Deli Inc. has renewed its license multiple times in the interim without issue,

investing considerable time, effort, and money into the business year after year.

        154. PLCB now arbitrarily threatens the existence of the business nearly a decade later,

illustrating its clear bias and efforts to shut down minority-owned businesses like Yo Deli Inc.

at any cost.

        155. In effect, the PLCB appears to be taking the unfair position that any citation, no

matter how remote in time, could resurface at any time and for any reason to shut down a law-

abiding business in the future.

        156. Yo Deli Inc. has also been the target of unfair efforts to drum up new citations.

        157. In June 2024, immediately upon opening the store, white inspectors for the PLCB

came in to inspect and measure the premises.




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        158. While the staff prepared to open the store and was sweeping, the inspectors began

yelling and accusing them of adding additional seating.

        159. This would have been impossible for additional seating to be added in that matter.

        160. After this hostile exchange, the inspector left.

        161. The inspector returned later purporting to shut down Yo Deli Inc, not because there

was insufficient seating, but because they felt there should have been a sign advising patrons that

additional seating was available on the second floor.

        162. Setting aside that the additional seating should be obvious to customers, there is no

express requirement in the law to post such a sign.

        163. Even if there was, remediating the issue would be trivial and could be accomplished

immediately for virtually zero expense.

        164. Despite this, the inspector required Yo Deli Inc. to shut down for two weeks,

causing significant financial harm, disruption of regular business, and a further threat to renewal

of its license.

        165. Based on the old violation and the trivial claim that it was missing a sign, PLCB

now arbitrarily threatens the existence of the business by issuing only a temporary license based

on this conduct, illustrating its clear bias and efforts to shut down minority-owned businesses

like Yo Deli Inc. at any cost.

                                       7701 Ogontz Inc.

        166. The City of Philadelphia, using the Nuisance Business Ordinance, also actively

seeks to disrupt and shut down members of Plaintiff’s organization.

        167. For instance, 7701 Ogontz Inc. operates Riley Deli in Philadelphia.




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       168. On or about February 28, 2024, they received a warning from the City accusing

them of being a nuisance business. A true and correct copy of the police incident report and the

warning letter are attached as Exhibit C.

       169. This allegation was based on the fact that members of the Police Department

arrested two individuals in Riley Deli for allegedly selling drugs somewhere nearby the

restaurant.

       170. During the arrest that followed, one of the individuals appeared to break several

fingers. That individual was ultimately released at the scene.

       171. On information and belief, the allegations against both these individuals were later

dismissed.

       172. However, the City of Philadelphia has not withdrawn its citations against Riley

Deli, warning that with further violations the City could “begin legal action to close your

establishment.”

       173. This has the perverse effect that Riley Deli is subject to punishment, even where,

apparently, no underlying crime was committed.

       174. Officers at the scene asserted to the manager of Riley Deli that if there was another

incident or if they received another ticket, the business would be shut down.

       175. As a result, Riley Deli’s owners, managers, and employees are afraid to even

contact the police or report potential criminal activity in the neighborhood out of concern that

they will receive another nuisance violation, which could result in the closing of the

establishment.

                                        Best Beer, Inc.




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       176. On or about February 22, 2022, the BLCE issued a citation (Citation No. 22-0189)

to Best Beer, Inc., alleging that it did not meet the 300 square-foot public space requirement for

an eating place license.

       177. As a result, Best Beer was shut down for two weeks, and a liquor license suspension

placard was displayed on the storefront. On June 6, 2022, an administrative hearing was held,

and the citation was dismissed, finding that BLCE had failed to establish that Best Beer had

inadequate square footage.

       178. Despite the citation being dismissed, Best Beer received a letter on October 17,

2024 from the PLCB in response to its application for renewal. This letter indicated that the

PLCB was considering the previously dismissed citation as part of its determination on the

renewal application. A true and correct copy of the October 17, 2024 letter and Adjudication is

attached as Exhibit D.

       179. Best Beer incurred $1,750 in legal fees related to the citation and the

administrative hearing.

       180. To make matters worse, Best Beer shares common ownership with a similar

establishment called Sky Beer Deli, Inc. (“Sky Beer”).

       181. Sky Beer has never been shut down due to an inspection by the BLCE or Police

Department.

       182. Despite this, Sky Beer received only a temporary license renewal. On information

and belief, Defendants are attempting to use the same dismissed allegations against Best Beer to

shut down the business of a separate business. A true and correct copy of the October 18, 2024

letter is attached as Exhibit D.

                                          Bu-Bu Deli




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       183. Maya 2008 Investment Group LLC operates Bu-Bu Deli at 3153 N. 22nd Street in

Philadelphia.

       184. On or about September 12, 2024, Bu-Bu Deli received two CVNs from the

Philadelphia Police Department for patrons drinking on the sidewalk in front of the establishment

and creating a nuisance. A true and correct copy of the CVNs and City of Philadelphia warning

letter are attached as Exhibit F.

       185. These individuals were not encouraged to loiter anywhere near the business, nor

could Bu-Bu Deli force them to leave a public sidewalk where they otherwise had a right to be.

       186. The business is also located near a bus stop, where residents need to gather in order

to ride public transportation.

       187. The owners and managers of Bu-Bu Deli have no means to determine who is

unlawfully loitering nearby, as opposed to waiting for a bus.

       188. On or about September 14, 2024, Bu-Bu Deli received CVN 6456364-5 also for

creating a nuisance and a separate Complaint or Incident Report was issued describing the

incident as follows “Upon arrival at the business at the above location Police observed multiple

individuals creating a nuisance by blocking the active pedestrian sidewalk and, when politely

asked, failed to disperse from outside the store.” See Exhibit F.

       189. To the extent these individuals did anything unlawful in the first instance, they

received no punishment. Instead, only Bu-Bu Deli received a citation.

       190. These citations were accompanied by threats that further citations could result in

the closure of this business.

                                          700 SE Inc.

       191. 700 SE Inc. operates a takeout business on 700 Snyder.




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       192. Like many members of the AALBA and AAB, the owners of 700 SE Inc. have

limited English proficiency, but have nevertheless been able to establish a successful business

that serves the community in South Philadelphia.

       193. 700 SE Inc. has nevertheless received two citations from the Police Department,

based on conduct over which it has no control.

       194. For the first citation, the officer cited Section 10-604(2)(a), which prohibits

the consumption of alcohol in public parks and similar spaces.

       195. To extent anyone has loitered in front of the business, the owners or managers of

700 SE Inc., generally asked them to leave.

       196. However, much like the owners of 700 SE Inc., the patrons often have limited

English skills as well, making any communication (much less a directive to leave) difficult.

       197. Regardless, the cited ordinance was inapplicable and, further, it was the individuals

and not the business who committed the alleged violation.

       198. On information and belief, those accused of loitering received no punishment.

       199. On a second instance, the officer allegedly observed empty beer containers in

bushes nearby, citing the Nuisance Ordinance restriction on illegal consumption of alcohol.

       200. In fact, the Nuisance Ordinance also expressly identifies littering as a form of

nuisance behavior.

       201. In effect, other people’s attempts to litter is now a potential basis to shut down 700

SE Inc. business.

       202. Given the general condition of streets, and the common sight of empty alcohol

containers, virtually any business in Philadelphia could be subject to citation for violating the

Nuisance Ordinance




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       203. However, the selective enforcement has targeted minority-owned businesses

instead.

       204. 700 SE Inc. is left in a precarious position, as even a trivial offense by one of its

customers, or even a random person passing by the store, could not serve as a basis for a third

citation that can shut down the business.

                                        CDD 725, Inc.

       205. Upon information and belief, CDD 725, Inc. has been subjected to numerous

unfounded and unnecessary inspections, which were allegedly conducted with the intent and

effect of intimidating, harassing, and threatening Plaintiffs. A true and correct copy of the

Philadelphia Police Department Complaint or Incident Reports from April 23, 2024, September

18, 2024 and October 21, 2024 are attached as Exhibit G.

       206. Despite each unannounced inspection’s Complaint or Incident Report stating that

“no issues were noted,” the assigned police officer continued to conduct repeated inspections

without any new basis or violations observed. Id.

       207. On or about October 21, 2024, an officer from the Philadelphia Police Department

arrived at CDD 725 for an unannounced inspection. During the issuance of the incident report,

the officer requested that the manager on duty sign the notice, which once again confirmed that

there were no violations.

       208. There is no printed space on the incident report form which requires, or even

requests, that an owner or manager sign.

       209. That line was added by hand by the officer.

       210. When the manager on duty asked why he needed to sign, the officer immediately

became hostile, raised his voice, and issued threats.




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        211. The officer accused the manager of “giving him a hard time” and “breaking his

stones.”

        212. The officer then threatened to return every day for further inspections.

        213. The officer made good on this threat, having returned for further inspections on at

least two separate occasions since then.

        214. Illustrating the concerted action between the City and the PLCB, the officer further

threatened that he would “come back with the LCB and we’ll see how that works out.”

        215. On a separate occasion, the officer advised the owner that stores like his are liable

for crimes in the area.

        216. The owner of CDD 725 Inc. went to the local precinct to try and find more

information about this conduct and why he was the subject of repeated inspections or requests

that he sign these incident reports.

        217. Instead of answers, the owner received conflicting explanations about the number

of inspections and the reasons he was presented with the citation.

                                   Other Impacted Businesses

        218. Even businesses that do not serve alcohol, but serve the community by offering

flexible hours, are suffering as a result of these practices.

        219. For instance, several member organizations of AAB do not sell alcohol, but still

suffer considerable harm from the curfew ordinances.

        220. Once such member operates a grocery store, known as the Quick Stop, on

Kensington Avenue.

        221. Their business relies on having flexible hours to serve the community, which

suffers from a lack of quality options for fresh food.




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       222. In particular, shift workers and other working class people depend on businesses

that are open after 11 p.m.

       223. The Quick Stop is one of the only businesses that can cater to these needs, providing

fresh meat, produce, and dairy products to this underserved community, even at odd hours.

       224. Reducing the time members of AAB can operate has a significant impact on their

revenue, which relies in their flexible hours.

       225. Upon information and belief, other businesses not owned by minorities are not

subject to the same level of enforcement.

       226. These are but a few examples of the discriminatory conduct faced by members of

the Asian and Arab business owners in Philadelphia.

       227. Of AALBA’s approximately 110 members, nearly 60 have already received an

adverse action from the PLCB in the form of temporary renewals to their liquor licenses based

on the selective and discriminatory enforcement of the law.

       228. For context, in prior renewal periods, on average one member of AALBA would

receive an adverse action, in the form of an outright rejection of their renewal application.

       229. Defendants’ actions threaten to permanently close established businesses arbitrarily

and without adequate due process and/or result in non-renewal of their liquor licenses.

       230. Defendants’ conduct is part of a concerted pattern targeted at these minority-owned

businesses, with the express purpose of shutting them down.

       231. On information and belief, even if a single citation or enforcement action is

defeated by Plaintiffs or its members, Defendants will simply keep harassing them until they

drum up a basis for further enforcement action, or the stress, expense, and uncertainty of

operating under these conditions push the owners to abandon the business.




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       232. Several members of AALBA and ABA have already expressed that they are

considering closing or selling their businesses to escape the harassment and avoid the uncertainty

that they will be shut down arbitrarily.

       233. These instances collectively demonstrate a sustained pattern of enforcement

actions, unannounced inspections, and citation issuances disproportionately directed at

Plaintiffs’ businesses.

       234. On information and belief, other businesses, owned by non-minorities or controlled

by larger corporate interests, are treated differently and are not subject to the same frequency of

inspection or the repeated bad-faith interpretations of the applicable requirements.

       235. On information and belief, alcohol sellers in other parts of the state, where the racial

makeup of the owners is not overwhelmingly Asian or Arab as it is in Philadelphia, are not

subject to the same requirements or level of enforcement.

       236. On information and belief, white-owned businesses, takeouts, grocery stores, or

restaurants are not similarly designated as potential nuisances.

       237. To make matters work, this conduct makes the impacted businesses less safe by

creating a barrier to contacting the police to report any crimes in the area.

       238. By reporting a crime, business owners risk receiving a citation, even if they are the

victim of criminal activity.

       239. This same catch-22 can similarly impact their liquor licenses, given the

coordination between the City of Philadelphia and the PLCB on this issue.

       240. As Plaintiffs and their members stand to lose their livelihoods from this pattern of

unlawful conduct, they now seek recourse from this Court to enjoin the discriminatory




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enforcement and application of the overbroad, vague, and inconsistently enforced laws and

ordinance threatening to close businesses throughout the City.

          241. The Plaintiffs, and the members of AALBA and ABA will face significant,

irreparable damages if the discriminatory enforcement practices continue.

                                       COUNT I
                                    42 U.S.C. § 1983
                           Plaintiffs v. City of Philadelphia
 Violation of Due Process – Ordinances are Unconstitutionally Vague and Overbroad

          242. Plaintiffs incorporate the preceding paragraphs as though set forth in their entirety.

          243. The due process clauses of the Fifth and Fourteenth Amendments to the

Constitution prohibit the enforcement of legislation that is unconstitutionally vague and

overbroad.

          244. The Curfew and Nuisance Ordinances are unduly vague and overbroad because the

prohibitions are not sufficiently defined and do not provide a person of ordinary intelligence fair

notice of what conduct is prohibited.

          245. As a result, Plaintiffs, similarly situated business owners, and the Police

Department charged with enforcing the Ordinances are left without adequate guidance on the

Ordinances’ interpretation.

          246. The impermissibly vague and overbroad terms of the Ordinances invite selective

discriminatory enforcement, which has resulted in harm to the Plaintiffs, as described in detail

herein.

          247. Accordingly, the Ordinances are void under the due process clauses of the Fifth and

Fourteenth Amendments to the United States Constitution.

                                           COUNT II
                         Pennsylvania Constitution, Article I, Section 1
                               Plaintiffs v. City of Philadelphia



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 Violation of Due Process – Ordinances are Unconstitutionally Vague and Overbroad


       248. Plaintiffs incorporate the preceding paragraphs as though set forth in their entirety.

       249. Article I, Section 1 of the Pennsylvania Constitution provides: “All men are born

equally free and independent, and have certain inherent and indefeasible rights, among which

are those of enjoying and defending life and liberty, of acquiring, possessing and protecting

property and reputation, and of pursuing their own happiness.” Pa.Const. art. I, § 1.

       250. A due process claim brought under the Pennsylvania Constitution is

indistinguishable from a due process claim brought under the Fourteenth Amendment of the

United States Constitution; the same analysis applies to both.

       251. Accordingly, the Ordinances are void under the due process clause of the

Pennsylvania Constitution.

                                         COUNT III
                                      42 U.S.C § 1983;
                             (Plaintiffs v. City of Philadelphia)
                     Violation of First Amendment – Right to Petition

       252. Plaintiffs incorporate the preceding paragraphs as though set forth in their entirety.

       253. The First Amendment to the United States Constitution guarantees the right to

petition the government to redress grievances.

       254. Under the First Amendment’s “right to petition” clause, communications to law

enforcement—including reporting criminal activity—are constitutionally protected activities.

       255. Defendant’s enforcement of the Nuisance Ordinance against Plaintiffs directly

violates their rights to petition the government to redress grievances.




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        256. Plaintiffs are reluctant to report any criminal activity in or around their

establishments to the Police Department for fear of receiving a violation notice and triggering

the shutdown of their establishments and/or non-renewal of their liquor licenses.

        257. Thus, the Nuisance Ordinance has created an undue chilling effect on Plaintiffs’

fundamental right to petition the police for protection.

        258. The Nuisance Ordinance does not advance any compelling government interest and

is not narrowly tailored to justify the infringement on Plaintiffs to call the police.

        259. Accordingly, the Nuisance Ordinance violates the First Amendment and its

Pennsylvania equivalent.

        260. As a direct and proximate result of the Defendant’s intentional and

discriminatory conduct, Plaintiffs have suffered and will continue to suffer immediate and irreparable

harm, including but not limited to financial loss, loss of business opportunities, and emotional

distress, as set forth in greater detail above.

                                         COUNT IV
                       Pennsylvania Constitution – Article I, Section 20
                             (Plaintiffs v. City of Philadelphia)
                               Violation of Right to Petition

        261. Plaintiffs incorporate the preceding paragraphs as though set forth in their entirety.

        262. Article I, Section 20 of the Pennsylvania Constitution provides: “Citizens have the

right to . . .petition the government for redress of grievances.” Pa.Const. art. I, § 20.

        263. Claims under Article I, Section 20 are analyzed in the same way as claims made for

a right to petition under the First Amendment of the United States Constitution.

        264. All of the aforementioned acts deprived plaintiffs and their members of the rights

guaranteed to citizens of Pennsylvania by Article I, Section 20 of the Pennsylvania Constitution.




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         265. As a direct and proximate result of the Defendant’s intentional and

discriminatory conduct, Plaintiffs have suffered and will continue to suffer immediate and irreparable

harm, including but not limited to financial loss, loss of business opportunities, and emotional

distress, as set forth in greater detail above.


                                          COUNT V
                                       42 U.S.C. § 1983
                                   (Plaintiffs v. Defendants)
                    Violation of Equal Protection - Selective Enforcement

         266. Plaintiffs incorporate the preceding paragraphs as though set forth in their entirety.

         267. Plaintiffs, as members of a minority group, are a protected class under the Equal

Protection Clause of the Fourteenth Amendment of the United States Constitution.

         268. Defendants deprived Plaintiffs of equal protection under the law by “selective

enforcement” of state and local laws in a purposeful and discriminatory manner against

Plaintiffs.

         269. Similarly situated, non-minority group business owners in the City of Philadelphia

and the Commonwealth of Pennsylvania are treated differently than Plaintiffs.

         270. Defendants have selectively and discriminatorily enforced the state and local laws

against Plaintiffs based on their race, in contrast to non-minority group business owners in

other parts of the City of Philadelphia and the Commonwealth.

         271. The acts complained of were carried out by the Defendants under the color of state

law in their capacities as policymakers, city and state officials and/or police officers, pursuant to

the customs, usages, practices, procedures, and laws of the City of Philadelphia, the Philadelphia

Police Department, the Commonwealth of Pennsylvania and the Pennsylvania Liquor Control

Board.




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        272. Said acts of defendants served no legitimate or reasonable law enforcement purpose

and were objectively unreasonable, disproportionate when compared to other similarly licensed

establishments in the same community, and calculated to harass and intimidate Plaintiffs

motivated by racial animus.

        273. These acts of intimidation were performed regularly, purposefully, maliciously,

selectively, and without proper cause.

        274. All of the aforementioned acts deprived plaintiffs and their members of the rights,

equal protections, and privileges guaranteed to citizens of the United States by the Fourteenth

Amendment to the Constitution of the United States of America, and in violation of 42 U.S.C. §

1983

        275. As a direct and proximate result of the Defendants’ intentional and

discriminatory conduct, Plaintiffs have suffered and will continue to suffer immediate and irreparable

harm, including but not limited to financial loss, loss of business opportunities, and emotional

distress, as set forth in greater detail above.

                                        COUNT VI
                    Pennsylvania Constitution, Article I, Sections 26, 29
                                  Plaintiffs v. Defendants
                   Violation of Equal Protection - Selective Enforcement

        276. Plaintiffs incorporate the preceding paragraphs as though set forth in their entirety.

        277. Article I, Section 26 of the Pennsylvania Constitution provides: “[n]either the

Commonwealth nor any political subdivision thereof shall deny to any person the enjoyment of

any civil right, nor discriminate against any person in the exercise of any civil right.” Pa.Const.

art. I, § 26.




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        278. Article I, Section 29 of the Pennsylvania Constitution provides: [e]quality of rights

under the law should not be denied or abridged in the Commonwealth of Pennsylvania because

of the race or ethnicity of the individual.” Pa.Const. art. I, § 29.

        279. Equal protection claims under Article I, Sections 26 and 29 of the Pennsylvania

Constitution are analyzed in the same way as claims made pursuant to the Fourteenth

Amendment of the United States Constitution.

        280. All of the aforementioned acts deprived plaintiffs and their members of the rights,

equal protections, and privileges guaranteed to citizens of Pennsylvania by Article I, Section 26

of the Pennsylvania Constitution.

        281. As a direct and proximate result of the Defendants’ intentional and

discriminatory conduct, Plaintiffs have suffered and will continue to suffer immediate and irreparable

harm, including but not limited to financial loss, loss of business opportunities, and emotional

distress, as set forth in greater detail above.


                                         COUNT VII
                                       42 U.S.C. § 1983
                                    Plaintiffs v. Defendants
                                       Civil Conspiracy

        282. Plaintiffs incorporate the preceding paragraphs as though set forth in their entirety.

        283. One or more of the Defendants participated in a conspiracy to cover up unlawful

conduct against Plaintiffs.

        284. The conspiracy, as it applied to Plaintiffs, was an expressed or implied agreement

between the Defendants and others, whose exact identity is unknown to Plaintiffs, to deprive

Plaintiffs of their constitutional rights by selective enforcement of local and state laws.




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         285. The acts complained of were carried out by the Defendants under the color of state

law in their capacities as policymakers, city and state officials and/or police officers, pursuant to

the customs, usages, practices, procedures, and laws of the City of Philadelphia, the Philadelphia

Police Department, the Commonwealth of Pennsylvania and the Pennsylvania Liquor Control

Board.

         286. As a direct and proximate result of the Defendants’ participation in the

conspiracy, Plaintiffs have suffered and will continue to suffer immediate and irreparable harm,

including but not limited to financial loss, loss of business opportunities, and emotional distress,

as set forth in greater detail above.

      WHEREFORE, Plaintiffs respectfully request that this Court issue the following relief:

      1. A preliminary and permanent injunction enjoining Defendants from continuing their

          unlawful and discriminatory treatment of Plaintiffs, including the selective

          enforcement of state and local laws, specifically the Curfew and Nuisance Ordinances,

          and prohibiting any further harassment, intimidation, or retaliation related to Plaintiffs’

          business operations;

      2. A preliminary and permanent injunction restraining Defendants from denying or

          obstructing the renewal of Plaintiffs’ liquor licenses or business permits based on

          discriminatory, unconstitutional, or unlawful criteria, including the improper

          application of the Curfew and Nuisance Ordinances;

      3. Stay all proceedings related to the renewal of Plaintiffs’ liquor licenses and/or the

          “temporary licenses” issued to Plaintiffs pending resolution of this matter;

      4. Damages in an amount to be determined at trial;

      5. Attorney’s fees; and




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      6. Monitoring of any further efforts to enforce these ordinances and laws to prevent future

         discrimination;

      7. Award such other relief as the Court deems appropriate.

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Dated: November 26, 2024




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